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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
National Council of Nonprofits, et al.,    )
                                           )
                            Plaintiffs,    )
                                           )
                     v.                    )    Civil Action No. 1:25-cv-239
                                           )
Office of Management and Budget, et al.,   )
                                           )
                            Defendants.    )
__________________________________________)


   DEFENDANTS’ OPPOSITION TO MS. ADAMS’ MOTION FOR INTERPLEADER
                         OR INTERVENTION

       On January 29, 2025, this Court docketed a motion filed pro se by Ms. Beatrice Adams,

seeking to interplead on behalf of herself and “all similarly situated individuals,” raising concerns

about whether child welfare funding is being used appropriately. ECF No. 19 at 1-2. Interpleader

does not appear to be appropriate here given that Ms. Adams is not currently a party to these

proceedings, see Fed. R. Civ. P. 22, and instead she appears to be seeking to intervene as a party.

       Defendants respectfully oppose intervention because Ms. Adams’ concerns about the

appropriate uses of child welfare funding do not appear to constitute “a legal interest as

distinguished from interests of a general and indefinite character,” Biden v. Internal Revenue Serv.,

--- F. Supp. 3d ----, No. 23-cv-2711-RC, 2024 WL 4332072, at *10 (D.D.C. Sept. 27, 2024)

(discussing Fed. R. Civ. P. 24(a)(2)), and in any event the United States is already adequately

representing the Government’s interests in ensuring that all federal funding is administered

appropriately. Permissive intervention is likewise inappropriate because Ms. Adams’ motion does

not identify “a common question of law or fact,” Fed. R. Civ. P. 24(b)(1)(B), given that Plaintiffs’

claims here are not specific to child welfare funding, and furthermore granting intervention in this



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expedited proceeding would likely “cause undue delay, complexity, or confusion in [the] case.”

Biden v. IRS, 2024 WL 4332072, at *13. Defendants respectfully submit that intervention should

be denied, and Ms. Adams will thereby remain free to pursue whatever claims she may have in a

separate proceeding.



Dated: February 12, 2025                          Respectfully Submitted,

                                                  BRETT A. SHUMATE
                                                  Acting Assistant Attorney General

                                                  ALEXANDER K. HAAS
                                                  Director

                                                  /s/ Daniel Schwei
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                                                  Counsel for Defendants




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                                CERTIFICATE OF SERVICE

       On February 12, 2025, I caused the foregoing to be filed electronically via the Court’s

CM/ECF system, which provides electronic notice to all counsel of record. I further caused the

foregoing to be served on pro se movant Beatrice Adams at the mailing address she has entered

on the record.

Dated: February 12, 2025                            /s/ Daniel Schwei
                                                    Daniel Schwei




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